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                           IN THE UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF GEORGIA
                                    VALDOSTA DIVISION

TALESHA SCHELL and
CASSANDRA PRESLEY,

           Plaintiff,
                                                                   CIVIL ACTION NO.
v.

PV HOLDING CORP, and
JOHN DOE,

           Defendants.

                                     NOTICE OF REMOVAL

         COMES NOW Defendant PV Holding Corp, Defendant in the above-styled civil action and,

pursuant to 28 U.S.C. §§ 1332 and 1441, hereby remove this action now pending in the State Court

of Lowndes County, State of Georgia, Civil Action No. 2021-CV-0898, styled Talesha Schell v. PV

Hold Corp. et al, wherein Plaintiff demands judgment against Defendants, and respectfully show

unto this Honorable Court as follows:

                                                   1.

         Plaintiff’s Complaint asserts claims of negligence against PV Holding Corp. and Defendant

John Doe. (Compl. ¶¶ 7 – 20).

                                                   2.

         This case is removable under 28 U.S.C. § 1441(a) because this is an action of a civil nature in

which the District Courts of the United States have been given original jurisdiction under 28 U.S.C.

§ 1332.




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                                                  3.

         The amount in controversy exceeds $75,000, exclusive of interest and costs. See Exxon Mobil

Corp. v. Allapattah Services, Inc., 545 U.S. 546, 125 S. Ct. 2611, 162 L. Ed. 2d 502 (2005).

                                                  4.

         Removal of this case on the basis of diversity of citizenship is not precluded by the

provisions of 28 U.S.C. §1441(b) because none of the parties in interest properly joined and served

as Defendants in this action is a citizen of the State of Georgia, in which this action was brought.

                                                  5.

         Plaintiff is a Georgia citizen domiciled in the State of Georgia. (Compl. ¶ 1).

                                                  6.

         Defendant PV Holding Corp is a foreign corporation organized in the State of Delaware with

its principal place of business located at 6 Sylvan Way, Parsippany, New Jersey 07054.

                                                  7.

         In determining whether a civil action is removable on the basis of the jurisdiction

under Section 1332(a), the citizenship of defendants sued under fictitious names is disregarded. 28

U.S.C. § 1441(b)(1). Thus the present citizenship of Defendant John Doe is likewise disregarded for

the purposes of removal.

                                                  8.

         This action was commenced in the State Court of Lowndes County, Georgia on June 3, 2021.

                                                  9.

         Defendants have not yet answered the Complaint.

                                                 10.




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         Pursuant to 28 U.S.C. § 1446(b), Defendant has timely filed this Notice of Removal within

30 days of the filing of Plaintiff’s Complaint.

                                                  11.

         Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders served upon

Defendants are attached as Exhibit A.

                                                  12.

         Pursuant to 28 U.S.C. § 1446(d), Defendants will provide written notice to all adverse parties

and file a copy of this Notice of Removal with the Clerk of the Court for the State Court of Lowndes

County, Georgia.

         WHEREFORE, Defendant respectfully submits this matter to this Court’s Jurisdiction.

         Respectfully submitted this 14th day of July, 2021.



                                                LEWIS BRISBOIS BISGAARD & SMITH, LLP



                                                /s/ Brantley C. Rowlen
                                                Brantley C. Rowlen
                                                Georgia Bar No. 153031
                                                Amy Mitchell
                                                Georgia Bar No. 355677

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                                  CERTIFICATE OF SERVICE

         I hereby certify that I have this day filed a true and correct copy of the foregoing Notice of

Removal was served upon all counsel as follows by placing same in the U.S. First Class Mail, with

proper postage affixed thereto, and addressed to all counsel of record as follows:

                                         Jody D. Peterman
                                         Dillon P. Hanson
                                      Jody D. Peterman, LLC
                                          P.O. Box 6010
                                    Valdosta, GA 31603-6010
                                  petermanlawoffice@yahoo.com
                                 dhanson.pertemanlaw@yahoo.com

                                         Counsel for Plaintiff

         This 14th day of July, 2021.

                                                LEWIS BRISBOIS BISGAARD & SMITH, LLP


                                                /s/ Brantley C. Rowlen
                                                Brantley C. Rowlen
                                                Georgia Bar No. 153031
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